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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

DISH NETWORK L.L.C.                   )                   Case No. 3:19cv605
and NAGRASTAR LLC,                    )
                                      )
                Plaintiffs,           )
                                      )
v.                                    )
                                      )
MELVIN CRAWLEY JR. and MIRACLE        )
MEDIA LLC, individually and           )
collectively d/b/a MIRACLE BOX MEDIA, )
                                      )
                Defendants.           )
                                                                                            /


       PLAINTIFFS’ COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF


        Plaintiffs DISH Network L.L.C. (“DISH”) and NagraStar LLC (“NagraStar”) (collectively

with DISH, “Plaintiffs”) bring this action against Defendants Melvin Crawley Jr. and Miracle

Media LLC, individually and collectively d/b/a MiracleBox (collectively “Defendants”1), and state

as follows:

                                                PARTIES

        1.      Plaintiff DISH Network L.L.C. is a Colorado limited liability company with its

principal place of business located at 9601 South Meridian Blvd., Englewood, Colorado 80112.

        2.      Plaintiff NagraStar LLC is a Colorado limited liability company with its principal

place of business located at 90 Inverness Circle East, Englewood, Colorado 80112.




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  All Defendants are acting jointly in furtherance of a common scheme to steal DISH programming and
resell it to unauthorized users. (See infra ¶¶ 7-12.) Defendants acting jointly are collectively referred to
herein as “Defendants” where appropriate. Individual defendants are referred to singularly by specific
name where appropriate.
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       3.         Upon information and belief, Defendant Melvin Crawley Jr. (hereinafter

“Crawley”), in an individual residing in Glen Allen, Virginia and is the controlling member, officer

and director of Defendant Miracle Media LLC.

       4.         Defendant Miracle Media LLC (hereinafter “Miracle Media”) is a limited liability

company organized under the laws of the State of Virginia, with its principal place of business listed

as 8191 Brook Rd., Richmond, Virginia 23227. According to Commonwealth of Virginia State

Corporation Commission website (https://sccefile.scc.virginia.gov/Business/S565980; last visited

on August 6, 2019), Miracle Media LLC’s status is listed as “Canceled”.

       5.         Upon information and belief, Crawley manages and oversees the day-to-day

operations and makes final decisions concerning the business of Miracle Media and the MiracleBox

d/b/a. Crawley is believed to authorize, control, participate in, and receive direct financial benefits

from the infringing activities of Miracle Media and MiracleBox as alleged herein.                Upon

information and belief, the infringing acts that Crawley engages in as an agent of Miracle Media

and MiracleBox are within the course and scope of his agency.

       6.         Upon information and belief, there is a unity of interest and ownership between

Crawley, Miracle Media and MiracleBox, preventing them from functioning as separate entities. It

would be inequitable to allow Miracle Media to assert a distinction between that entity (to the extent

it cures its defunct status) and Crawley.

       7.         Upon information and belief, Miracle Media was formed by Crawley for the purpose

of protecting him from judgment and in an effort to secrete monies earned by the infringing conduct

alleged herein.

       8.         Upon information and belief, Crawley, acting as manager of Miracle Media, or in

other capacities, failed to respect the separate identity of Miracle Media and has exercised dominion


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and control over Miracle Media such that the separate personalities of the entities and Crawley no

longer exist, and has improperly used the corporate form to commit an injustice, or to gain an unfair

advantage by conducting business in the name of Miracle Media. Crawley has used Miracle Media

for purposes of committing the illegal acts complained of herein. The recognition of the business

entity would therefore result in an injustice to Plaintiffs. Upon information and belief, actions and

circumstances that warrant piercing the corporate veil include but are not limited to the following:

             a. Crawley has improperly commingled assets with and among Miracle Media;

             b. Crawley drained Miracle Media of substantial sums of money thereby

                undercapitalizing it;

             c. Crawley and Miracle Media caused valuable assets, property, rights and/or interests

                to be transferred to each other without adequate consideration;

             d. Crawley and Miracle Media failed to follow formalities of corporate existence;

       9.       This Court should consider Crawley and Miracle Media as one entity or “alter egos”

and enter an order piercing the corporate veil of Miracle Media, to the extent that entity still exists.

       10.      Any judgment pursuant to Plaintiffs’ request for relief should be rendered joint and

several against Crawley and Miracle Media.

                                    JURISDICTION & VENUE

       11.      Plaintiffs assert claims under 47 U.S.C. §§ 605(a) and 605(e)(4). The Court has

subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

       12.      Defendants reside in, conduct business in, and engage in the wrongful conduct at

issue in this Complaint in Virginia, and therefore are subject to this Court’s personal jurisdiction.

       13.      Venue is appropriate in this Court under 28 U.S.C. § 1391(b)(1) because Crawley

resides in this judicial district, § 1391(b)(2) because a substantial part of the events giving rise to


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Plaintiffs’ claims occurred in this judicial district, and § 1391(b)(3) because Defendants are subject

to personal jurisdiction in this judicial district.

                                     NATURE OF THE ACTION

        14.     Defendants created a pirate streaming television service they have branded

“MiracleBox”. Defendants traffic in device codes and set-top-boxes (“STBs”) designed to enable

access to the MiracleBox pirate streaming service, which includes television channels and

programming that were received without authorization from DISH’s satellite service and were

subsequently retransmitted without authorization on the MiracleBox pirate streaming service.

Defendants are believed to engage in or work in concert or participation with other persons that are

receiving DISH’s channels for retransmission on the MiracleBox pirate streaming service without

authorization. Defendants’ actions violate the Federal Communications Act (“FCA”), 47 U.S.C.

§§ 605(a) and 605(e)(4).

                     DISH’S SATELLITE TELEVISION PROGRAMMING

        15.     DISH is the fourth largest pay-television provider in the United States and delivers

programming to millions of subscribers nationwide via a direct broadcast satellite system.

        16.     DISH uses high-powered satellites to broadcast, among other things, movies, sports,

and general entertainment services to consumers who have been authorized to receive such services

after paying a subscription fee, or in the case of a pay-per-view movie or event, the purchase price.

        17.     DISH contracts for and purchases rights for the programming that is distributed on

its platform from network affiliates, motion picture distributors, pay and specialty broadcasters,

cable networks, sports leagues, and other holders of programming rights. DISH’s programming

includes hundreds of premium movie, sports, educational, travel, and entertainment channels

including, without limitation: USA; CMDY; LIFE; LMN; FOOD Network; DIY; HGTV;


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COOK; A&E; FYI; HISTORY; BET; ESPN2; FOX S1; NFL Network; CBSSN; VH1;

DISXD; DISCOVERY; TLC; FXNews; MSNBC; TRU TV; SHOTIME-E; SHOTO; EWSTN;

STARZ; ARTMV; MURTV; NBN; GEOTV; ARY DI; DUNYA; ARY NW; EXPNW; ZEETV;

SET; SAB; SETMX; AAJTX; WILLOW; ASTHA; WLXTR; CHNLI; and TMNDO

(collectively “the DISH Programming”).

       18.    NagraStar provides smart cards and other proprietary security technologies that form

a conditional access system used to authorize receipt of DISH’s satellite programming.

       19.    The DISH programming is scrambled prior to being transmitted to a number of

satellites located in geo-synchronous orbit above Earth. The satellites relay the encrypted DISH

signal back to Earth where it can be received by authorized DISH subscribers that have the

necessary equipment, including a DISH receiver and NagraStar smart card. The receiver and smart

card convert DISH’s encrypted satellite signal into viewable programming that can be displayed on

the attached television of an authorized DISH subscriber.

                         DEFENDANTS’ WRONGFUL CONDUCT

       20.    Through     various    websites,       including   https://miracleboxmedia.com   and

www.theykilledcable.com ( the “MiracleBox Domains”), Defendants have advertised and sold

device codes and STBs to access servers that are used to stream unauthorized television

programming on the MiracleBox pirate streaming service, including the DISH Programming.




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       21.       To entice the purchase of hardware and/or device codes from MiracleBox,

Defendants promise “Unlimited Premium HD Movies, TV Shows, Sports & PPV” with “NO

Monthly Fees & No Contracts” – all for the one time purchase price of $399 (in the case of the

MiracleBox STB v3.0):

                                 Which Price Would You Rather Pay?
                                         Cable and Satellite
                                          $2,400 Per Year
                                    Available Movies, Shows55%
                                                55%
                                          Miracle Box 2.0
                                           $399 One Time
                                   Available Movies, Shows100%
                                               100%
              Waiting on TV shows to show up on Netflix? Wait no longer watch them now!
             Unlimited Movies, TV Shows, Sports, & PPV, Unlimited Music, Games, & More!
                                  NO Monthly Fees! & No Contracts



       22.       The MiracleBox STBs and MiracleBox pirate streaming service is, and has been

retransmitting the DISH Programming without authorization from DISH. The DISH Programming

was received from DISH’s satellite television service without authorization. The DISH

Programming was distributed to MiracleBox customers for Defendants’ benefit and the benefit of
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MiracleBox customers who were not entitled to receive the DISH Programming. Messages

transmitted as part of DISH’s satellite television signals were observed on the DISH Programming

retransmitted on the MiracleBox STBs and MiracleBox pirate streaming service, confirming that

the DISH Programming originated from DISH subscriber accounts and DISH’s satellite broadcasts.

       23.     Defendants openly advertised on the MiracleBox Domains that their STBs and

MiracleBox pirate streaming service provided access to premium content, including the DISH

Programming:




       24.     Upon information and belief, Defendants directly engage in, aid and abet, or are

acting within the scope of a principal-agent relationship with other persons that are receiving and

retransmitting the DISH Programming through the MiracleBox STBs and on the MiracleBox pirate

streaming service.


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       25.     Defendants’ wrongful conduct has caused irreparable harm to Plaintiffs for which

there is no adequate remedy at law. Defendants’ acts have resulted in providing an unknown

number2 of Defendants’ MiracleBox customers with access to the DISH Programming, resulting in

an unknown amount of revenues being diverted from Plaintiffs and an unknown amount of profits

being received by Defendants. In addition to lost revenue and Defendants’ profits, Defendants’

actions cause harm to Plaintiffs in the form of loss of reputation and goodwill.

                                      CLAIMS FOR RELIEF

        (Count I – Violation of the Federal Communications Act, 47 U.S.C. § 605(a) –
                                     On Behalf of DISH)

       26.     DISH repeats and realleges the allegations in paragraphs 1- 25 above.

       27.     Upon information and belief, Defendants or persons acting in concert or

participation with Defendants received DISH’s transmissions of the DISH Programming and

retransmitted the DISH Programming on the MiracleBox STBs and MiracleBox pirate streaming

service, without having authorization from DISH and for their own benefit and their subscribers, in

violation of 47 U.S.C. § 605(a).

       28.     Defendants’ sale and distribution of MiracleBox STBs and device codes for

accessing the MiracleBox pirate streaming service assists end users to receive the DISH

Programming or the content therein, without having authorization from DISH and for the benefit

of the MiracleBox end users, in violation of 47 U.S.C. § 605(a).



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  Crawley has admitted to having “over 100,000 customers” to investigators of DISH during undercover
product and service purchase, product support and other investigatory pretext calls. Crawley further
admitted that “about 20,000” of those customers for his MiracleBox STBs and/or MiracleBox pirate
streaming service came from SetTV – another pirate streaming service providing unauthorized access to
DISH Programming. Plaintiffs previously filed suit against the operators of SetTV in the Middle District
of Florida, where the Court issued Temporary Restraining and Preliminary Injunction Orders shutting down
the service and freezing those Defendants’ assets and accounts. DISH Network L.L.C. v. SET Broadcast
LLC, No. 8:18-cv-01334-VMC-AAS, Dkt. 15 (M.D. Fla. June 4, 2018).
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       29.     Defendants have been violating 47 U.S.C. § 605(a) willfully and for purposes of

commercial advantage and private financial gain. Defendants knew or should have known their

actions are illegal and prohibited.

       30.     Defendants’ violations cause damage to DISH in an amount to be proven at trial.

Unless enjoined by the Court, Defendants will continue to violate 47 U.S.C. § 605(a).

      (Count II – Violation of the Federal Communications Act, 47 U.S.C. § 605(e)(4) –
                                  On Behalf of All Plaintiffs)

       31.     Plaintiffs repeat and reallege the allegations in paragraphs 1- 25 above.

       32.     Defendants sell and distribute MiracleBox STBs and device codes used for

accessing the MiracleBox pirate streaming service in violation of 47 U.S.C. § 605(e)(4).        The

MiracleBox STBs and device codes are knowingly provided by Defendants for purposes of

enabling customers’ access to the servers that are used to stream the television programming on the

MiracleBox pirate streaming service, including the DISH Programming. Defendants are engaged

in the sale and distribution of MiracleBox STBs and device codes for the MiracleBox pirate

streaming service with knowledge, or reason to know, that these devices are intended to be used in

receiving the DISH Programming or its content, without having authorization from DISH and for

the benefit of the MiracleBox end users, which is activity that violates 47 U.S.C. § 605(a).

       33.     Defendants violated 47 U.S.C. § 605(e)(4) willfully and for purposes of commercial

advantage and private financial gain. Defendants knew or should have known their actions are

illegal and prohibited.

       34.     Defendants’ violations cause damage to Plaintiffs in an amount to be proven at trial.

Unless enjoined by the Court, Defendants will continue to violate 47 U.S.C. § 605(e)(4).




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                                     PRAYER FOR RELIEF

       WHEREFORE, DISH prays for judgment against Defendants as follows:

       A.      For permanent injunctive relief under 47 U.S.C. § 605(e)(3)(B)(i) restraining and

enjoining Defendants, and any agent, servant, employee, attorney, or other person acting in active

concert or participation with any of the foregoing that receives actual notice of the order, from:

               1.      receiving or assisting others in receiving DISH’s satellite transmissions or

the television programming contained therein without authorization, including transmitting DISH

television programming or its content over the Internet or by other means, or distributing DISH

television programming or its content to persons not authorized by DISH to receive or view that

programming or channel; and

               2.      manufacturing, assembling, modifying, importing, exporting, selling, or

distributing STBs, devices, subscriptions, applications, codes, or connections related to the

MiracleBox pirate streaming service, or any other device or equipment that is intended for

receiving or assisting in receiving DISH’s satellite transmissions or the television programming

contained therein without authorization;

       B.      For an order authorizing Plaintiffs to take possession of and destroy all MiracleBox

STBs, devices, subscriptions, applications, and device codes, as well as all streaming devices,

technologies, tools, software, products, components, or parts thereof in the custody or control of

Defendants that the Court has reasonable cause to believe were involved in Defendants’ violations

of the FCA, pursuant to 47 U.S.C. § 605(e)(3)(B)(i);

       C.      For an order requiring removal of Defendants’ advertisements and social media

pages concerning MiracleBox STBs, the MiracleBox pirate streaming service, or any other device




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or service that provides, or assists in providing unauthorized access to DISH programming or

content, and an order requiring the transfer of the MiracleBox Domains to Plaintiffs;

       D.      For an order directing Defendants to preserve and turn over to Plaintiffs all hard

copy and electronic records concerning MiracleBox STBs, devices, subscriptions, applications,

device codes, or any similar product or service, including manufacturers, exporters, importers,

dealers, or purchasers of such products or services, or any persons involved in receiving DISH’s

satellite transmissions or the programming contained therein without authorization;

       E.      Award DISH the greater of its actual damages together with any profits made by

Defendants that are attributable to the violations alleged herein, or statutory damages in the amount

of up to $10,000 for each violation of 47 U.S.C. § 605(a), under 47 U.S.C. § 605(e)(3)(C)(i), and

to increase the amount by $100,000 for each violation, in accordance with 47 U.S.C. §

605(e)(3)(C)(ii);

       F.      Award Plaintiffs the greater of their actual damages together with any profits made

by Defendants that are attributable to the violations alleged herein, or statutory damages in the

amount of up to $100,000 for each violation of 47 U.S.C. § 605(e)(4), under 47 U.S.C. §

605(e)(3)(C)(i);

       G.      Award Plaintiffs their costs, attorney’s fees, and investigative expenses under 47

U.S.C. § 605(e)(3)(B)(iii);

       H.      For a full and accurate accounting of all profits and other benefits received by

Defendants as a result of the wrongful conduct described herein;

       I.      For pre and post-judgment interest on all monetary relief, from the earliest date

permitted by law at the maximum rate permitted by law; and

       J.      For such additional relief as the Court deems just and equitable.


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Dated: August 19, 2019.

                                  Respectfully submitted,


                                         /s/ Bradshaw Rost
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